                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION                                  Motion GRANTED.

UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )        No. 3:13-00153-1
                                             )        JUDGE TRAUGER
                                             )
DORIAN AYACHE                                )

                   DEFENDANT AYACHE’S UNOPPOSED MOTION
                  TO MODIFY CONDITION OF PRETRIAL RELEASE

       As discussed at his plea hearing on August 19, 2014, Defendant Dorian Ayache moves

the Court to modify his pretrial supervision in one respect, namely, by withdrawing the

prohibition against any communications between himself and codefendant Theresa Vincent. The

government has stated it does not oppose this request.

                                             Respectfully submitted,

                                              /s/ Michael C. Holley
                                             MICHAEL C. HOLLEY, BPR # 021885
                                             DUMAKA SHABAZZ
                                             Assistant Federal Public Defenders
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                                             Nashville, Tennessee 37203
                                             (615) 736-5047

                                             Attorneys for Dorian Ayache

                                CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2014, I electronically filed the foregoing Unopposed
Motion to Modify Condition of Pretrial Supervision with the clerk of the court by using the
CM/ECF system, which will send a Notice of Electronic Filing to the following: William Abely
and Byron Jones, Assistant United States Attorneys, 110 Ninth Avenue South, Suite A961,
Nashville, TN 37203.

                                             /s/ Michael C. Holley
                                             MICHAEL C. HOLLEY



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